                        IN THE SUPREME COURT OF TEXAS


                              ((((((((((((((((
                                 No. 12-0190
                              ((((((((((((((((

                          Mary Riggins, Petitioner

                                     v.

               RONALD HILL AND LINDA HILL, ET AL., Respondent

            ((((((((((((((((((((((((((((((((((((((((((((((((((((
                           On Petition for Review
            ((((((((((((((((((((((((((((((((((((((((((((((((((((


      ORDER

      1.    The petition for review, filed on March 20, 2012, is ABATED.
      2.    This petition is removed from the Court's active docket.  It  is
the parties' responsibility to immediately notify this Court when the  court
of appeals' decision is final.

      Done at the City of Austin, this 30th day of March, 2012.

                                       [pic]
                                       Blake A. Hawthorne, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




